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Exhibit A: Plaintiff Copyright Registrations
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Exhibit A: Plaintiff Copyright Registrations




Type of Work:          Text

Registration Number / Date:
                   TX0008629478 / 2018-05-15

Application Title: ALL SUMMER LONG.

Title:                 ALL SUMMER LONG.

Description:           Book, 170 p.

Copyright Claimant:
                       Hope Larson.

Date of Creation:      2018

Date of Publication:
                   2018-04-12

Nation of First Publication:
                   United States

Authorship on Application:
                   Hope Larson; Domicile: United States. Authorship: text,
                      artwork.

Rights and Permissions:
                   Macmillan Children's Publishing Group, Attn: Permissions
                      Manager, 175 Fifth Avenue, New York, NY, 10010, United
                      States

Names:                 Larson, Hope
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Exhibit A: Plaintiff Copyright Registrations




Type of Work:          Text

Registration Number / Date:
                   TX0006879805 / 2008-09-11

Application Title: Chiggers.

Title:                 Chiggers.

Description:           Book, 170p.

Copyright Claimant:
                       Hope Larson

Date of Creation:      2008

Date of Publication:
                   2008-06-17

Nation of First Publication:
                   United States

Authorship on Application:
                   Hope Larson; Citizenship: United States. Authorship: text,
                      artwork.

Rights and Permissions:
                   To whom it may concern, Simon & Schuster, Simon & Schuster,
                      Inc.-17th Floor, 1230 Avenue of the Americas, New York,
                      NY, 10020

ISBN:                  1416935843

Names:                 Larson, Hope
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Exhibit A: Plaintiff Copyright Registrations




Type of Work:          Visual Material

Registration Number / Date:
                   VA0002097201 / 2017-07-13

Application Title: Chester 5000 XYV, Book 2: Isabelle & George HC.

Title:                 Chester 5000 XYV, Book 2: Isabelle & George HC.

Description:           Book, 180 p.

Copyright Claimant:
                       Jessica Fink.

Date of Creation:      2016

Date of Publication:
                   2016-05-01

Nation of First Publication:
                   United States

Authorship on Application:
                   Jessica Fink; Domicile: United States. Authorship: 2-D
                      artwork, Text.

Names:                 Fink, Jessica
                       Fink, Jess
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Exhibit A: Plaintiff Copyright Registrations




Type of Work:          Visual Material

Registration Number / Date:
                   VA0001911930 / 2014-04-08

Application Title: Anouk, et al.

Title:                 Anouk.

Appears in:            Fashion Gone Rogue, Nov 12, 2013

Description:           Electronic file (eService)

Copyright Claimant:
                       Jingna Zhang, 1988-     .

Date of Creation:      2013

Date of Publication:
                   2013-02-17

Nation of First Publication:
                   United States

Authorship on Application:
                   Jingna Zhang, 1988-         ;   Citizenship: Singapore. Authorship:
                      photograph(s)

Rights and Permissions:
                   Jingna Zhang, info@zhangjingna.com

Names:                 Zhang, Jingna, 1988-
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Exhibit A: Plaintiff Copyright Registrations




Type of Work:          Visual Material

Registration Number / Date:
                   VA0001917341 / 2014-06-09

Application Title: Motherland Chronicles.

Title:                 Motherland Chronicles.

Description:           Electronic file (eService)

Copyright Claimant:
                       Jingna Zhang, 1988-     .

Date of Creation:      2013

Date of Publication:
                   2013-02-04

Nation of First Publication:
                   United States

Authorship on Application:
                   Jingna Zhang, 1988- ; Citizenship: Singapore. Authorship:
                      photograph(s), 2-D artwork.

Rights and Permissions:
                   Jingna Zhang, info@zhangjingna.com

Names:                 Zhang, Jingna, 1988-
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Exhibit A: Plaintiff Copyright Registrations




Type of Work:          Text

Registration Number / Date:
                   TX0009082399 / 2021-01-22

Application Title: Adulthood is a Myth: A "Sarah's Scribbles" 2021 Wall
                      Calendar.

Title:                 Adulthood is a Myth: A "Sarah's Scribbles" 2021 Wall
                          Calendar.

Description:           Book.

Copyright Claimant:
                       Sarah Andersen.

Date of Creation:      2020

Date of Publication:
                   2020-06-30

Nation of First Publication:
                   United States

Authorship on Application:
                   Sarah Andersen; Citizenship: United States. Authorship:
                      artwork, compilation of previously published art with
                      accompanying text; some new art.

Pre-existing Material:
                   previously published art with accompanying text.

Basis of Claim:        artwork, compilation of previously published art with
                          accompanying text; some new art.

ISBN:                  9781524857677

Names:                 Andersen, Sarah
                Case 3:24-cv-02531 Document 1-1 Filed 04/26/24 Page 8 of 11


Exhibit A: Plaintiff Copyright Registrations




Type of Work:          Text

Registration Number / Date:
                   TX0008207926 / 2015-12-10

Application Title: Adulthood Is a Myth: A Sarah's Scribbles Collection.

Title:                 Adulthood Is a Myth: A Sarah's Scribbles Collection.

Description:           Book.

Copyright Claimant:
                       Sarah Andersen.

Date of Creation:      2015

Date of Publication:
                   2015-12-08

Nation of First Publication:
                   United States

Authorship on Application:
                   Sarah Andersen; Citizenship: United States. Authorship:
                      text, artwork.

Pre-existing Material:
                   Some cartoons previously appeared on author's website.

Basis of Claim:        text, artwork.

ISBN:                  9781449474195

Names:                 Andersen, Sarah
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Exhibit A: Plaintiff Copyright Registrations




Type of Work:          Text

Registration Number / Date:
                   TX0008493928 / 2017-01-09

Application Title: Big Mushy Happy Lump: A Sarah's Scribbles Collection .

Title:                 Big Mushy Happy Lump: A Sarah's Scribbles Collection .

Description:           Book, 125 p.

Copyright Claimant:
                       Sarah Andersen.

Date of Creation:      2016

Date of Publication:
                   2016-12-12

Nation of First Publication:
                   United States

Authorship on Application:
                   Sarah Andersen; Citizenship: United States. Authorship:
                      text, artwork.

Copyright Note:        Basis for Registration: Collective work

ISBN:                  9781449479619

Names:                 Andersen, Sarah
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Exhibit A: Plaintiff Copyright Registrations




Type of Work:          Text

Registration Number / Date:
                   TX0008564573 / 2018-02-12

Application Title: Herding Cats: A Sarah's Scribbles Collection.

Title:                 Herding Cats: A Sarah's Scribbles Collection.

Description:           Book, 108 p.

Copyright Claimant:
                       Sarah Andersen.

Date of Creation:      2018

Date of Publication:
                   2018-01-16

Nation of First Publication:
                   United States

Authorship on Application:
                   Sarah Andersen; Citizenship: United States. Authorship:
                      text, artwork, Curated and themed collection of cartoons
                      previously published online.

Pre-existing Material:
                   Some cartoons previously published online.

Basis of Claim:        text, artwork, Curated and themed collection of cartoons
                          previously published online.

ISBN:                  9781449489786

Names:                 Andersen, Sarah
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Exhibit A: Plaintiff Copyright Registrations




Type of Work:          Text

Registration Number / Date:
                   TX0009153980 / 2022-02-16

Application Title: Oddball: A Sarah?s Scribbles Collection.

Title:                 Oddball: A Sarah?s Scribbles Collection.

Description:           Book, 105 p.

Copyright Claimant:
                       Sarah Andersen.

Date of Creation:      2021

Date of Publication:
                   2021-12-07

Nation of First Publication:
                   United States

Authorship on Application:
                   Sarah Andersen; Citizenship: United States. Authorship:
                      text, artwork.

Copyright Note:        Basis for Registration: Collective work

ISBN:                  9781449489793

Names:                 Andersen, Sarah
